                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION
____________________________________
                                             )
DANIEL JAROCH,                               )
                                             )      Case No. 17 CV 8518
                      Plaintiff,             )
vs.                                          ) Honorable Virginia M. Kendall
                                             )Magistrate Judge Honorable Daniel G. Martin
                                             )
Florida Fruit Juices, Inc.,                  )
Donald Franko, Sr.,                          )
Donald Franko, Jr. and                       )
William J. Franko,                           )
                                             )
       Defendants.                           )
____________________________________         )

                          PLAINTIFFS MOTION TO COMPEL ONE

       Plaintiff, DANIEL JAROCH (“Plaintiff”), by his attorney THE LAW OFFICE OF JOHN

IRELAND, and Motions this Court to Compel Defendant Response to Discovery issued by

Plaintiff and states in support as follows:

                            NATURE OF ACTION AND PARTIES

   1. This civil action is brought by the above-named individual plaintiff who seeks redress for

       the Defendant’s violations of his rights under the Fair Labor Standards Act, 29 U.S.C. §

       201, et. seq. and for violations of the Illinois Minimum Wage Act (“IMWA”), 820 ILCS

       §105 et seq. and Illinois Wage Payment and Collection Act 820 ILCS 115/1 et seq. (West

       2002)) (hereinafter “IWPCA” ) as well an common law claim of Conversion of Personal

       Property.

   2. Plaintiff issued discovery (Interrogatories, Document Requests and Requests for

       Inspection) on February 28, 2018.




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3. As of April 22, 2018 Defendant has not Answered, produced nor asked for any extension

   of Answer/production dates. (nearly two months has passed as of this filing deadline)

4. On April 18, 2018 Plaintiff sent Defendant an email asking for production of documents

   and/or Answers to Interrogatories and/or Requests for Inspection.

5. Defendant failed to respond to this 37.2 communications in any manner.

6. On April 19, 2018, Plaintiff again asked for production of documents and/or Answer to

   Interrogatories and/or Requests for Inspection by email and/or advised that a Motion to

   Compel would be forthcoming.

7. Defendant failed again to respond to this 37.2 communication in any manner.

8. On April 19, 2018, in further fulfillment of LR 37.2, Plaintiff’s Counsel called Defendant

   counsel.

9. Defendant counsel was not available, thus Plaintiff left a long voice mail message for

   Defendant detailing that discovery was long overdue and a Motion would follow if

   Answers and production did not follow shortly.

10. Plaintiff also asked for a call back to discuss the issue and/or a response to the prior two

   emails.

11. Defendant again failed to respond to this 37.2 communication in any manner.

12. Thus Plaintiff now asks this court to Order Defendant’s immediate Answers to

   Interrogatories and Production of documents and/or Requests for Inspection.

13. Given the delays by Defendant, Plaintiff also asks for extension of discovery by 45 days.

14. Plaintiff has fulfilled all 37.2 duties as shown in the attached 37.2 Declaration. (See

   Plaintiff’s 37.2 Declaration, attached to this Motion as Exhibit 1).




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WHEREFORE, Plaintiff asks the Court to enter an Order requiring Defendant to:

          a.     Immediately, (within one day) Answer Plaintiff’s Interrogatories
          b.      Immediately, (within one day) produce documents
          c.     Immediately, (within one day) respond to Plaintiff document requests
          d.     Immediately, (within one week) allow inspection of property of Defendants.
          e.     Extend discovery deadlines by 45 days
          f.     Other relief that is just and right



Dated: 4/22/18                        Respectfully submitted,

                                                     ____/S/John C. Ireland

                                                     John Ireland
                                                     THE LAW OFFICE OF JOHN C. IRELAND
                                                     636 Spruce Street
                                                     South Elgin, IL 60177
                                                     Telephone: (630) 464-9675
                                                     Facsimile 630-206-0889
                                                     attorneyireland@gmail.com




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